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ORIGINAL

IN THE UNITED STATES DISTRICT COURT FOR THE
NORTHERN DISTRICT OF NEW YORK

 

In the Matter of the Seizure of
ONE (1) 2003 ACURA TL, Case No. 08-MJ- 4{p8 (oe?)
NEW YORK REGISTRATION EGU5940,

VIN #19UUA56713A078111, REGISTERED IN

 

 

 

 

THE NAME OF SHALON W. DURHAM AND TITLED [US-DISTRICT COURT - ND. OF NY.
TO ANDREA L. SCOTT = | LL E D
pe 2 8 2608 w |
aT_
Lawie . ek Syracuse
APPLICATION AND AFFIDAVIT FOR SEIZURE WARR NT vr

|, ANTHONY R. FITZGERALD, being duly sworn, depose and say that | am a Special
Agent with the Federal Bureau of Investigation, and have reason to believe that in the Northern
District of New York there is now certain property which is subject to forfeiture to the United States,
namely: One (1) 2003 Acura TL, VIN #19UUA56713A078111 in the name of Shalon W. Durham
which is: property that was obtained directly or indirectly as a result of violations of Title 21, United
States Code, Sections 841 and 846 and/or was used or intended to be used to commit, or facilitate
the commission of a violation of Title 21, United States Code, Section 841 and 846 and Is therefore
subject to seizure and forfeiture to the United States of America pursuant to Title 21, United States
Code, Section 853.

The facts to support a finding of Probable Cause for issuance of a Seizure Warrant are
as follows:

PLEASE SEE AFFIDAVIT OF FBI SPECIAL AGENT ANTHONY R. FITZGERALD,

Continued on the attached sheet and veers

SPECIAL AGENT ANTHONY FITZGERALD
FEDERAL BUREAU OF INVESTIGATION

Sworn to before me, and subscribed in my presence

October Z¥_, 2008 at Syracuse, New York
Date and Time Issued City and State

Hon. David E. Peebles Mawel lx
United States Magistrate Judge { f

Name and Title of Judicial Officer Signature of Judicial Officer
 

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AFFIDAVIT IN SUPPORT OF SEIZURE WARRANT

STATE OF NEW YORK

COUNTY OF ONEIDA

CITY OF UTICA

I, Purpose of Application and Applicant’s Background

ANTHONY R. FITZGERALD, being duly sworn, deposes and says:

I am a Special Agent with the Federal Bureau of Investigation ("FBI"), an agency of the
United States Department of Justice. Iam currently assigned to the Utica, New York FBI office. I
have been employed by the FBI for the past twenty 24 years. During this time, ] have participated in

“numerous investigations involving organized criminal/drug and money laundering operations, |
including criminal narcotics enterprises. I make this affidavit in support of seizure warrants
pursuant to the provisions of Title 21, United States Code, Section 853(a)(1)(2) (Drug Crimes
Seizure and Forfeiture) and Title 18 United States Code, Section 982 (Money Laundering Seizure
and F orfeiture). This affidavit is in support of an application to obtain warrants to seize 10 vehicles

owned and/or used by members of a Utica, New York drug gang called BRANCH OFF

PRODUCTIONS (hereinafter BOP) in their drug operation. Specifically, records maintained by the
 

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New York State Division of Motor Vehicles shows the following information on these vehicles:

1. 2003 Acura TL, Vehicle Identification Number (VIN) 19UUA56713A078111, New York
Reg. EGU 5940, which is registered to Shalon W. Durham, and titled to Andrea L. Scott. —

2. 2005 Mitsubishi Endeavor, VIN 4A4MM21S15E061815, New York Reg. EBL7149,
which is registered to Nadine Allen and titled to Wilber C. Allen.

As will be discussed in detail later in this affidavit it 1s reasonably believed that the above
two vehicles are actually owned and used by BOP member WHITNEY FOWLER a/k/a SEIS,
FATTIE, FATBOY.

3. 2001 Honda Civic, VIN 1HGEM229X1L002552, New York Reg. DZW 8369, which is
registered and titled to MICHAEL E. AUSTIN, date of birth: November 17, 1978.

4, 2004 Mercedes Benz S 430, VIN WDBNG83J74A388010, New York Reg. DNY1538,
which is registered to MICHAEL E. AUSTIN, date of birth: November 17, 1978, and titled to
Michael P. Lennon.

As will be discussed in detail later in this affidavit it is reasonably believed that the above
two vehicles are owned and used by BOP member MICHAEL E. AUSTIN a/k/a SOSA date of birth :
November 17, 1978.

5. 1999 Audi A6, VIN WAUBA24B4XN082824, New. York Reg. DVY 5669, which is
registered and titled to MICHAEL A.WILLIAMS.

As will be discussed in detail later in this affidavit it is reasonably believed that MICHAEL
A. WILLIAMS is a Utica, New York drug dealer who purchased cocaine from BOP member
HAROLD CARR, alkla “H”’, HENNY. Additionally, WILLIAMS registered vehicles in his name for

CARR.
 

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’ 6, Acura TL, New York Reg. EEF3379.

As will be discussed in detail later in this affidavit it is reasonably believed that the above
vehicle is actually owned and used by BOP member HAROLD CARR a/k/a “H”, HENNY.

7. 2002 Ford Explorer, VIN 1FMZU73E42UC49744, New York Reg. DYG2045, which is |
registered and titled to Kathleen Tyrrell.

8. 2003 Honda Accord, VIN HGCM66543.A057468, New York Reg. EBL8051, which is
titled and registered to Marlene A. Thompson.

9, 2005 Jeep Cherokee, VIN 1J4GR48K75C509407, New York Reg. EKX2230, which is
registered and titled to Sheena Stockton. _

As will be discussed in detail later in this affidavit it is reasonably believed that the above
three vehicles are actually owned and used by BOP member ANDREW WYMES a/k/a DRIP.

10. 2002 Chevy Trailblazer, VIN IGNDT13 $122463839, New York Reg. DV Y7671, which |
is registered and titled to Jaime Rivera. |

As will be discussed in detail later in this affidavit it is reasonably believed that the above
vehicle is owned and used by BOP member JERMAINE GARY a/k/a HALF.

WHITNEY FOWLER a/k/a SEIS, FATTIE, FATBOY, MICHAEL E. AUSTIN a/k/a SOSA,
MICHAEL A. WILLIAMS, HAROLD CARR a/k/a “H”, HENNY, ANDREW WYMES a/k/a
DRIP and JERMAINE GARY a/k/a HALF are currently the. subjects of a federal criminal
investigation for violations of Title 21, United States Code Sections 841 (a)(1) and 846 Possession
With intent to Distribute Controlled Substances and Conspiracy and Title 18, United States Code
Section 1956, Money Laundering.

This affidavit is intended to set forth probable cause in support of a warrants to seize the
 

 

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above nine vehicles. These vehicles were purchased with illicit drug money and/or were used to
transport drugs and money in support of the above offenses. The requested warrants are sought so
that these assets can be preserved for further proceedings in accordance with law. Therefore, Ihave
set forth the necessary information to make a showing of probable cause for the issuance of these
seizure warrants. I have not included every single fact of this investigation.
IL. BOP Drug and Money Laundering Investigation
A. Case Background
Captioned investigation was initiated in April 2007 based upon source information from a

confidential source (hereinafter CS) that BRANCH OFF PRODUCTIONS, a violent Utica drug
gang, had been selling significant quantities of powder and crack cocaine in the central New
_ York area since the late 1990's. Subsequently, additional CSs were debriefed, controlled cocaine
and crack cocaine buys were made from BOP members and electronic surveillance was

conducted on five cell phones used by BOP members. These investigative techniques show that

starting in the late 1990's a Utica drug gang called the TREE SQUAD was formed. The gang

initially trafficked in marijuana and was led by WHITNEY FOWLER a/k/a SEIS, FATTIE,
_ FATBOY, MICHAEL AUSTIN a/k/a SOSA and ANDREW WYMES a/k/a DRIP. The gang
oradually phased out its marijuana business and began trafficking in large quantities of crack
cocaine and powder cocaine in the Central New York area. Around 2002 the gang started its own
independent music company called BRANCH OFF PRODUCTIONS (hereinafter BOP) and
since then the gang has used that name. BOP, which is based in Utica, New York, continues to
run an extensive drug operation that trafficks in large quantities of powder and crack cocaine. in

the upstate New York area.
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B.. Confidential Sources —

_ During the course of this investigation confidential sources (“CSs”) provided
information on the drug activities of the members of this conspiracy. The information provided
by the CSs has been corroborated by independent investigation, including telephone call records,
recorded conversations, police reports, debriefings of other CSs, physical surveillance by the
Utica FBI and the Oneida County Drug Task Force, Utica, New York. Additionally, CSs made
five controlled cocaine buys from BOP member HAROLD CARR a/k/a “H”, HENNY, four
controlled cocaine buys from BOP leader ANDREW WYMES a/k/a DRIP and/or his workers,
three controlled cocaine buys were made from BOP leader WHITNEY FOWLER a/k/a SEIS,
FATTIE, FATBOY, three controlled crack cocaine buys were made from BOP leader MICHAEL
AUSTIN a/k/a SOSA and one controlled crack cocaine buy was made ftom JERMAINE GARY
a/k/a HALF. Information gathered from the CSs, corroborated and added to evidence later
gathered through controlled buys and electronic surveillance, which identified the defendants
WHITNEY FOWLER a/k/a SEIS, FATTIE, FATBOY, ANDREW WYMES a/k/a DRIP,
HAROLDCARR a/k/a “H”, HENNY, MICHAEL WILLIAMS and MICHAEL AUSTIN a/k/a
SOSA and JERMAINE GARY a/k/a HALF as members of a Utica drug conspiracy.

C. Electronic Surveillance

~ On July 7, 2008, based upon information developed from the above controlled purchases with
| HAROLD CARR a/k/a “H”, HENNY and call record analysis on“H”’s cell phone, 31 5-507-7493
(hereinafter Line 1), a Title II] wiretap was authorized by Hon. Norman A. Mordue, United States
District Court Judge, on Line 1. This order was renewed on August 5, 2008.. Pertinent calls

intercepted during the wire intercept on Line] showed that this cell phone was used primarily by
 

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“H” | to take drug orders from his customers and to communicate with other BOP members
regarding their drug trafficking activities. Call intercepts from this wiretap led to probable cause to
obtain spinoff wiretaps on cell phones 315-601-1036 (hereinafter Line 2), 315-534-0292 (hereinafter
Line 3) and 315-507-0656 (hereinafter Line 4). The Title II wiretaps on Lines 2, 3 and 4 were
authorized by Hon. Norman A. Mordue, United States District Court Judge, on August 25, 2008.
_ This order for Line 3 was renewed on October 10, 2008. (It is noted that when Line 3 was renewed
the cell phone number had changed to 315-534-0017). Call intercepts .on these lines showed that
ANDREW WYMES a/k/a DRIP was the user of Lines 2 and 3 and that WHITNEY FOWLER was
the user of Line 4. After August 5, 2008 call activity on Line 1| significantly decreased and it was
determined that “H” was no longer using this cell phone. Based upon information provided by CS 3
and call record analysis of “H”’s girlfriend’s cell phone it was determined that “H” was using cell
phone number 315-269-3789 to conduct his drug business. Based upon this information, Hon.
Norman A. Mordue, United States District Court Judge, authorized a Title III wiretap on 315-269-
3789 (hereinafter Line 5) on September 3, 2008. This order was renewed on October 2, 2008.

Based on the calls intercepted over Lines 1 and 5, itis clear that these cell phones were used
by customers of HAROLD CARR a/k/a HENNY, “H”, to place drug orders with him. There are
numerous calls in which customers are calling these cell phones to order quantities of cocaine and/or
crack cocaine, Discussions during these calls include, but are not limited to, the amount of crack
ordered, the price to be paid and when and where to make the deliveries.

Also, calls intercepted over Lines 1 and 5 showed these cell phones were used by

HAROLD CARR a/k/a “H” to communicate with other members of BOP including WHITNEY

FOWLER a/k/a SEIS, ANDREW WYMES a/k/a DRIP. In general, calls with these individuals _
 

 

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showed the close criminal association of these BOP members. Specifically, the calls with
WYMES showed that HAROLD CARR a/k/a “H” was supplied with drugs by DRIP and that in
addition to drug trafficking WHITNEY FOWLER a/k/a SEIS also was the point of contact for
BOP members who needed guns. |

D. WHITNEY FOWLER a/k/a SEIS, FATTIE, FATBOY

1, 2003 Acura TL, Vehicle Identification Number (VIN) 19UUA56713A078111, New York

Reg. EGU 5940, which is registered to Shalon W. Durham, and titled to Andrea L. Scott.

2. 2005 Mitsubishi Endeavor, VIN 4A4MM21S15E061815, New York Reg. EBL7149, ©
which is registered to Nadine Allen and titled to Wilber C. Allen.

WHITNEY FOWLER a/k/a SEIS, FATTIE, FATBOY is a 28 year old convicted
NewYork State drug felon who resides at 1629 Elm Street, first floor, Utica, New York. The
above Mitsubishi Endeavor is registered to FOWLER’ mother Nadine Allen. During an
intercepted call FOWLER stated that he was the owner of the above Acura TL. Six CSs have
identified FOWLER as a leader of BOP, a Utica drug gang. FOWLER is not known to have any
source of income outside of his drug trafficking activities.

| On August 14, 2008 during call #7 on Line 4 FOWLER told an insurance agent who
was handling a car accident investigation involving the above Acura TL that he was the owner of
this vehicle. FOWLER advised he would fax the insurance agent a police report relating to the
car accident. | ;
On September 13, 2008 during call # 458 at 6:15 pm on Line 5 BOP leader WHITNEY
FOWLER a/k/a SEIS, FATTIE, FATBOY called for HAROLD CARR a/k/a “H” but MICHAEL

WILLIAMS who was with “H” answered the call. WILLIAMS stated that they were on the way
 

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to WILLIAMS’ house (1549 Mohawk Street, Utica) and “H” wanted FOWLER to meet them
there at 6:30 pm. WILLIAMS told FOWLERto pull all the way into the back of the house.

Call # 461 — 315-520-9959 — 6:43 pm

WHITNEY FOWLER a/k/a SEIS told HAROLD CARR a/k/a “H” that he was at
WILLIAMS’ house.

Surveillance

6:43 pm — A gray Acura TL , New York tag EGU5940, known to be driven by
WHITNEY FOWLER a/k/a SEIS, drove to the rear of the driveway at 1549 Mohawk Street,
Utica.

6:50 pm — A gray Honda Accord, New York tag EEF 3379, known to be driven by
HAROLD CARR a/k/a “H” also pulled to the rear of the driveway at 1549 Mohawk Street,

7:30 pm — The Honda left.

7: 37 pm — The Honda returned.

7; 52 pm — The Honda left.

7:54 pm — The Acura left.

Based on my training and experience I believe that the intercepted calls and surveillance
on September 13, 2008 show that HAROLD CARR a/k/a “H”, WHITNEY FOWLER 4/k/a SEIS,
FATTIE, FATBOY and MICHAEL WILLIAMS met to discuss their drug business at
WILLIAMS’ house and that FOWLER there in the Acura TL.

| On October 1 and October 6, 2008 CS 1 made controlled purchases of cocaine with
FOWLER in Utica, New York. During the first controlled. buy FOWLER was observed making

the delivery to CS 1 while driving the above Mitsubishi Endeavor. During the second controlled
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buy FOWLER was observed driving the above Mitsubishi Endeavor to his residence at 1629 Elm
Street, Utica where he remained for a short time before driving the same vehicle to complete his
cocaine sale to CS 1.

| Also, on October 17, 2008 CS 1 made another controlled purchase of cocaine from
WHITNEY FOWLER a/k/a SEIS , FATTIE, FATBOY. During this controlled buy SEIS made
the cocaine delivery while driving the above Acura TL.

It is noted that during numerous other surveillances conducted in this investigation from
July 2008 through October 2008 FOWLER was the only person observed to drive the Acura TL
and the Mitsubishi Endeavor.

E,. MICHAEL AUSTIN a/k/a SOSA

1. 2001 Honda Civic, VIN YHGEM229X1L002552, New York Reg. DZW 8369, which is
registered and titled to MICHAEL E. AUSTIN.

2. 2004 Mercedes Benz 8 43, VIN WDBNG83J74A388010, New York Reg. DNY1538,
which is registered to MICHAEL E. AUSTIN and titled to Michael P. Lennon.

MICHAEL AUSTIN a/k/a SOSA is a 29 year old convicted New York State drug felon who
resides at 111 Hawthorne Avenue, Utica, New York. Six CSs have identified AUSTIN as a leader of
BOP, a Utica drug gang. AUSTIN is not known to have any source of income outside of his drug
trafficking activities.

On August 3, 2008 calls intercepted on Line 1 indicated that a load of cocaine had arrived at
512 Blandina Street, Utica, which is the residence of BOP leader ANDREW WYMES a/k/a DRIP.
That same night at 9:10 pm the above Honda Civic was observed parked near 512 Blandina Street.

On October 2, CS 2 advised that AUSTIN has a gray Honda Civic with a “trap” in the back

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of the front passenger seat that AUSTIN uses to conceal drugs he is transporting. AUSTIN told CS 2
that the Civic was currently in New York City but that he was bringing it back to Utica soon.

On October 10, 2008 CS 2 made a controlled purchase of crack cocaine from AUSTIN in
Utica. AUSTIN was observed driving to this buy in the above Mercedes Benz S 43. The buy was
also completed in this vehicle by CS 2 with AUSTIN.

F. MICHAEL WILLIAMS

1999 Audi A6é, VIN WAUBA24B4XN082824, New York Reg. DVY 5669, which is

registered and titled to MICHAEL A.WILLIAMS.

MICHAEL WILLIAMS is a 36 year old who resides at 1549 Mohawk Street, Utica,

NewYork. | |
WILLIAMS was identified through wire intercepts and surveillance as a drug dealer who was one of
“H”’s main customers. Additionally, investigation determined that WILLLIAMS was a cousin and
close associate of “FH”. It is noted that during the wiretaps on Lines 1 and 5, WILLIAMS registered
three cars in his name that were owned and driven by HAROLD CARR a/k/a “H”, HENNY, to
make his drug deliveries. Recent wire intercepts on Line 5 also show that WILLIAMS and CARR

are in the process of starting a cab business through which they will launder their drug proceeds.

WILLIAMS is not known to have any source of income outside of his drug trafficking activities.

On July 25, 2008 at 5:49 pm during call #1138 on Line 1 WILLIAMS asked CARR to
“holler” at him. (It is noted that the term “holler” was frequently used by CARR’s drug customers to
indicate that they wanted CARR to deliver cocaine to them.) At 5:54 pm CARR was observed to
drive to the back of WILLIAMS’ residence at 1549 Mohawk Street, Utica. At 6:01 pm CARR drove

away as did WILLIAMS in the above Audi A6,

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Based on my training and experience it is believed that during the above call CARR delivered
cocaine to WILLIAMS and WILLIAMS then left in his Audi A6 t o make a drug delivery.

On July 28, 2008 at 5:11 pm during call #1409 on Line 1 CARR and WILLIAMS agreed to
meet at a Utica bar that CARR sold cocaine out of. At 5:14 pm WILLIAMS was observed exiting his
Audi A6 and entering the bar. At 5:16 pm WILLIAMS left the bar and drove away in his Audi A6.

Based on my training an experience it is believed that during the above call that WILLIAMS
bought cocaine from CARR and transported it in his Audi A6.

G. HAROLD CARR a/k/a “H”, HENNY |

Acura TL, New York Reg. EEF3379.

HAROLD CARR a/k/a “H”, HENNY, is a 29 year old New York State drug felon who
resides at 197A Clinton Road, Utica. Five CSs have identified CARR as a BOP member and drug
dealer. As was mentioned previously, CS 3 made five controlled cocaine purchases from CARR.
CARR is not known to have any source of income outside of his drug trafficking activities.

Wire intercepts from Lines 1 and 5 which are CARR’s cell phones and associated
surveillance frorn July 2008 through October 2008 showed CARR made numerous cocaine deliveries
to his main drug customers, CARR was observed making many of these drug deliveries in a
Mercedes Benz which was registered to MICHAEL WILLIAMS and titled to CARR. CARR later
sold the Mercedes Benz and purchased a Honda Accord which he was observed making drug
deliveries in numerous times. The Honda was also registered to WILLIAMS and titled to CARR.
-- CARR recently sold the Honda and purchased the above | Acura TL which is registered to

’ WILLIAMS and titled to CARR.

Based on my training and experience it is believed that the above Acura TL was purchased

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_ with drug proceeds.

H. ANDREW WYMES a/k/a DRIP

1, 2002 Ford Explorer, VIN 1FMZU73E42UC49744, New York Reg. DYG2045, which is
registered and titled to Kathleen Tyrrell. |

2. 2003 Honda Accord, VIN HGCM66543 A057468, New York Reg. EBL8051, which is
_ titled and registered to Marlene A. Thompson. |

3, 2005 Jeep Cherokee, VIN 1J4GR48K75C509407, New York Reg. EKX2230, which is
registered and titled to Sheena Stockton.

ANDREW WYMES a/k/a DRIP is a 28 year old convicted New York State drug felon who
resides at 5 12 Blandina Street, Utica, New York. Six CSs have identified WYMES as a leader of
BOP. Wire intercepts and associated surveillance show that WYMES has received deliveries of |
cocaine at his residence and that he also distributes cocaine. WYMES, who is currently on parole,
works at a Utica gas station. Wire intercepts and CS information show that WYMES also conducts
his drug business from this workplace.

On September 12, 2008 cs 3 advised as follows:

For the last four or five years CS 1 bought cocaine from Utica drug dealers CS 1 knew as
SEIS and DRIP. CS 1 estimated he completed 17 or 18 drug deals with WHITNEY FOWLER
a/k/a SEIS, FATTIE and FATBOY and ANDREW WYMES a/k/a DRIP. The cocaine amounts
purchased ranged from one half ounce to 14 ounces. CS 1 advised that the 14 ounce cocaine deal
took place at WYMES’ mother’s house on Blandina Street in Utica. CS 1 met WYMES at this

location and then FOWLER brought the cocaine there.

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The last cocaine purchase CS 1 made from FOWLER happened in late August or early
September 2008. CS 1 observed FOWLER deliver four or five ounces of cocaine to another
Utica drug dealer who in turn handed it to CS 1.

| On September 18, 2008 CS 1 advised as follows: |

Most of CS 1’s cocaine purchases were made from WYMES. CS 1 stated that three or
four of his cocaine purchases were with FOWLER. Many of the cocaine purchases from
WYMES occurred at WYMES’ mother’s house on Blandina Street, the front porch of WYMES’
house on Blandina Street and inside WYMES’ vehicle, agreen Ford Explorer. CS 1 stated that
two or three times he also bought a total of approximately two ounces of crack from WYMES.

CS 1 noted that WYMES’ residence is about a block from his mother’s house on
Blandina Street. CS 1 advised that WYMES’ mother is an older white female. CS 1 also advised
that WYMES’ mother’s house is located right next to the residence of ROCKY ROCK, who is
WYMES’ brother. It is noted that physical surveillance, wire intercepts and public record checks |
show that WYMES resides at 512 Blandina Street, his mother is a white female, Katherine
Tyrrell, who resides at 410 Blandina Street and ROCKY ROCK resides next door to her at 418
' Blandina Street. CS 1 advised that approximately one year ago a Utica drug dealer told CS 3 that
he sold cocaine at a Utica bar for ROCKY ROCK. This drug dealer also stated that ROCKY
ROCK obtained his cocaine from WYMES.

CS 1 advised that one of his drug associates was fronted three to six ounces of cocaine
every other day by WYMES. CS 1 observed many of these drug deals. CS 1’s drug associate also
told CS1 that WYMES kept his cocaine in a safe at his mother’s house on Blandina Street.

Line 3 Calls With ANDREW WYMES a/k/a DRIP

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From August 25, 2008 through September 23, 2008 call intercepts on Line 3 which is a cell
phone subscribed to by ANDREW WYMES, 512 Blandina Street, Utica, New York, show that
DRIP used this cell phone to distribute cocaine and/or crack cocaine, communicate with other BOP
members about their drug operation, launder his drug proceeds and set up drug deliveries from his
Long Island supplier. A sampling of these calls and related surveillances is as follows:

Drug Distribution Calls
August 25, 2008

Call #2 — 315-724-3785 — 8:49 pm

A female caller later identified:as Sheena Stockton told DRIP that she had no “food”. DRIP
stated that he would get her something and told her to come see him at work.

Surveillance

9:07 pm — A white Pontiac pulled into the Citgo gas station in north Utica. DRIP who was
working there talked to the driver.

10:01 pm — The Pontiac was observed parked in front of 5 12 Blandina Street, Utica.

10:06 pm — The Pontiac left 512 Blandina Street.

Call #7 — 315-790-5782 — 10:09 pm

| DRIP asked his sister Alice Fenimore, who lives on the first floor at 512 Blandina Street,
Utica, below DRIP who resides on the second floor apartment, if Sheena had come to see her yet.
Fenimore stated that she had come and asked for “one”. Fenimore stated that she gave it to her.
Fenimore continued “I gave her one right?” DRIP replied “yup”. Fenimore stated that “there were

two ones and one that looked like (unintelligible). DRIP again replied “yup”.

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Surveillance

10:14 pm — The Pontiac returned to the Citgo station in north Utica and DRIP again talked to
the driver.

Based on my training and experience I believe that the above calls and surveillances show
that DRIP had his sister supply Sheena Stockton with powder and/or crack cocaine.
August 31, 2008

Call #315 — 315-733-1472 — 9:08 pm

DRIP told Clue he was “hollering” at Lang right now and then he was going to “check”
Clue’s “shortie” (girlfriend). DRIP stated then he was going to FATBOY’s crib (the residence of
BOP leader WHITNEY FOWLER a/k/a SEIS, FATTIE, FATBOY which is located at 1629 Elm
Street, Utica). Clue stated that his “shortie” was in the “crib” on Jewett (Place) in the upstairs.back
apartment. DRIP told Clue to tell his “shortie” that he would be there at 9:30 pm. (It is noted that in
this call and other calls the term “holler” was frequently used by DRIP when he met with other BOP
- members and drug dealers, Based on my training and experience it is believed that DRIP used
“holler” to indicate when drugs and/or money needed to picked up or delivered by him. Additionally,
it is noted that based on my training and experience the term “check” is commonly used by a drug
dealer to indicate that he is about to make a drug delivery). |

Call #316 — 315-733-1472- 9:43 pm

DRIP told Clue’s “shortie” that he was pulling into the driveway now and asked her to come
see him.

Surveillance

9:45 pm — A black Honda Accord, New York tag EBL 8051, registered to DRIP’s sister

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Marlene Thompson and known to be driven by DRIP, turned onto Jewett Place, Utica. The Honda
then parked in the driveway at 10 Jewett Place.

9:50 pm — The Honda left 10 J ewett Place.

Based on my training and experience I believe that the above calls and surveillance show that
DRIP drove the above Honda Accord to 10 J ewett Place to make a drug delivery. Additionally, as
will be discussed in further detail later in this affidavit the Honda that DRIP used to make the drug
delivery is believed to have a “trap” in it to hide drugs. |
September 8, 2008

Call #638 — 315-525-9638 — 2:27 pm

An unknown male caller needed to see DRIP who was at work. DRIP told him to come to his
job. The caller stated that he would call DRIP before he came.

Call #642 — 315-525-9638 ~ 5:36 pm

The unknown male caller told DRIP he would come by to look at “it” in half an hour.

Surveillance

6:18 pm — A white Toyota Camry parked at the Citgo gas station in north Utica. The male |
driver exited the car and went in the office where he met DRIP.

| 6:22 pm — The male driver exited the office and drove away.

Call #652 — 315-525-9638 — 7:15 pm

The unknown male caller complained to DRIP about some “shit” DRIP gave him that was
weak.
September 22, 2008

‘Call #1077 — 315-525-9638 — 8:43 pm

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DRIP told the unknown male caller to stop by his job.

Surveillance

9:19 pm-A white Toyota Camry, New York tag AKB 1091, driven by an Asian male, pulled
into the Citgo gas station in north Utica. The driver talked to DRIP.

Call #1081 ~ 315-525-9638 — 9:35 pm

DRIP told the unknown male caller to come back to see him for a second.

Call #1085 — 315-525-9638 — 9:35 pm

The unknown male caller agreed to meet DRIP at his residence.

Based on my training and experience I believe that the above calls and surveillances show
that the above unknown male caller met DRIP to purchase powder and/or crack cocaine.

Calls Relating To DRIP’s Hidden Ownership of Vehicles

Call intercepts, surveillance and public records checks show that DRIP has at least three
vehicles that he owns and uses in his drug business registered in the names of other individuals. A
sampling of these calls is as follows:
September 1, 2008

Call #343 — 315-542-6454 — 6:30 pm

DRIP’s sister Marlene Thompson asked DRIP ifhe forgot about the insurance that had to be
paid. DRIP stated that he would write.a check tomorrow because he had to “hit “ Pokey and givea
whole bunch of people some cash. DRIP then mentioned that they were still waiting to hear from the
“dude”. As the black Honda Accord, New York tag EBL 8051, which DRIP drove is registered to
Marlene Thompson it is believed that during this call Thompson was asking him to pay the car

insurance on the Honda.

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September 12, 2008

Calls #773 and #774 — 315-542-6454 — 11:35 am, 11:51 pm

DRIP told Marlene Thompson that he needed her to get new keys made for the black 2003
Honda Accord, VIN 18GCM66543A057468, NY tag. EBL 8051.

September 13, 2008

Call #826 ~ 347-231-9731 — 11:07

DRIP complained to his girlfriend “Baby Girl” that-he had to get keys made for his Honda.
DRIP thought FATTY (BOP leader WHITNEY FOWLER a/k/a SEIS FATTIE) had lost one of the
keys to the Honda. DRIP stated that he did not know where the other key went.

‘September 18, 2008 |

Call #966 - 315-765-1540 — 11:22 pm

DRIP told his girlfriend Celeste to get some personal use marijuana that he had left in the car
in the compartment under the radio. DRIP told her that the “weed “ was “in the thing that you push
and then it comes up above the gear shift thing underneath the radio”. As. other call intercepts show
that DRIP sometimes let his girlfriend Celeste drive the black Honda and CS 2 recently advised that
DRIP had a “trap” under the radio in the Honda, it is believed that in this call DRIP was telling
Celeste how to activate the “trap” in the Honda.

Based on my training and experience it is believed that the above calls relating to the Honda
show that DRIP is the actual owner of this car and that it is used by him in his drug business to
transport drugs.

September 9, 2008

Call #692 — 315-724-3785 — 9:20 pm

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DRIP asked Sheena Stockton if the title came. After Stockton stated that it did DRIP told her
that he needed it because he had to give it tomorrow to the “dude” who needed it.
September 12, 2008

Call #793 — 315-724-3785 — 3:28 pm

Sheena Stockton asked DRIP if they had to change the insurance. DRIP stated that had
already been taken care of and that it would come in the mail to them. DRIP stated that he already .
had the “temporaries” and that the car was the same model but a different color and package. DRIP
stated-that he was supposed to “shoot down there” (Long Island) to see “son” but that he did not
know if it would be this week

As is mentioned later in this affidavit, on September 20, 2008 DRIP drove a gray/green 2005
Jeep, New York tag EKX 2230, to Long Island and is believed to have retumed to Utica with a load
of cocaine. Record checks conducted on this Jeep show that it was recently registered to Sheena
Stockton.

_ Based on the above calls and DRIP’s trip to Long Island on September 20, 2008, it is_
'. believed that DRIP is the true owner of the 2005 Jeep and that he uses it to conduct his drug
business, ;

Numerous surveillances conducted on DRIP since July 2008 show that he drives a green Ford
Explorer, New York tag DYG 2045, on a daily basis. This vehicle is registered and titled to DRIP’s
mother, Kathleen Tyrrell, 410 Blandina Street, Utica. Additionally, as was mentioned previously, CS
1 recently advised that he has made numerous cocaine purchases from DRIP in the Explorer. Based
on this information it is believed that DRIP is the true owner of the Explorer and that he uses it to

conduct his drug business..

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Calls With Other BOP Members

DRIP was in frequent contact with other BOP members including JAMIE THOMPSON a/k/a
BUDDHA and JERMAINE GARY a/k/a HALF. A sampling of these calls and related surveillances
is as follows: |
August 27, 2008

Call # 50 — 315-542-0556- 10:50 am

DRIP told BUDDHA that DRIP was not on the same page as FATTY (BOP leader .
WHITNEY FOWLER a/k/a SEIS, FATTIE), HUNCHBACK (BOP leader MICHAEL AUSTIN)
and BUDDHA’s brother. DRIP stated that it (i.e. their drug operation) was not a game and never
was. At the end of the call BUDDAH asked DRIP if he could “holler” at him before DRIP went to
work. DRIP told BUDDHA to come see him. BUDDHA stated that he would be there in 10 minutes.
~ As was mentioned previously, it is noted that this call and other calls show the term “holler” was
frequently used by DRIP . Based on my training and experience it is believed that BUDDHA and
DRIP used “holler” to indicate when drugs and/or money needed to picked up or delivered by one of
them.

Surveillance

11:46 am — A gray Passat, New York tag CZF 6502, which is registered to BUDDHA’s
girlfriend and known to be driven by BUDDHA, was observed parked in the driveway of DRIP’s
residence at 512 Blandina Street, Utica. DRIP and BUDDHA then exited the rear of the residence.
_ BUDDHA drove away in the Passat. DRIP drove away in his green Ford Explorer, NY tag DYG
2045.

August 28, 2008

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Call #114 — 315-542-0556 - 9:56 am

BUDDHA told DRIP he was there. DRIP told BUDDHA to come to the front door.

Call #115 ~ 315-542-0556 — 10:18 am |

BUDDHA told DRIP he was coming right now.

Surveillance

10:47 am — A Passat, New York tag CZF 6502, known to be driven by BUDDHA, was
parked in the driveway at 512 Blandina Street, Utica. Also in the driveway were DRIP’s green Ford
Explorer, New York tag DYG 2045, and a Chevy Trailblazer, New York tag DVY 7671, known to
be driven by BOP member JERMAINE GARY a/k/a HALF. Five people were observed outside at a
table behind 512 Blandina Street. |
September 17, 2008

Call #919 — 315-542-0556 — 11:26 am

DRIP told BUDDHA he was pulling into his driveway.

Surveillance

_At approximately. 11:45 am DRIP’s green Ford Explorer, New York tag DYG 2045, was

observed parked at 120 Arlington Place which is BUDDHA’s residence. Approximately 10 minutes
~ later DRIP exited the residence and left in the Explorer. |

Calls Relating To DRIP’s Trip to Long Island On September 20, 2008
September 18, 2008

Call # 957 — 631-434-1927 — 5:38 pm

DRIP called Marshel Singleton who is believed to reside in the Brentwood, New York

area of Long Island. DRIP asked for her brother Devon Singleton’s phone number. DRIP

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explained that he needed to talk to him because some homicide detectives from the Suffolk
County Police Department had just questioned him about a homicide and also wanted to talk to
Devin. She stated that Devin’s number was 631-662-7058. |
September 19, 2008

Call # 990 — 631-662-7058 — 9:14 pm

DRIP told Devon Singleton that he had got his insurance cards today and was “good to
go now”. (As was.mentioned previously, DRIP is referring to a new Jeep he was now driving
that was just registered and insured in the name of Sheena Stockton). DRIP stated that he had not
left yet and wanted to know what was up with “Honkey” before he came. Singleton stated he was
in a “tight situation” right now. DRIP acknowledged that he understood and told SINGLETON
not to say anymore, DRIP told Singleton he would “hit” (i.e. call) him when he was “around the
way” (in the Long Island area).
September 20, 2008

Call intercepts from the morning of September 20, 2008 showed that DRIP was leaving
Utica on a trip. At approximately 12:47 pm call data information from Line 3 showed DRIP was
in the Bronx, New York area. |

Call #1015 — 631-662-7058 — 1:49 pm

DRIP told an unknown female (who answered Devon Singleton’s cell phone) that he was
at the back door. She advised she would let him in. Based on this call and call data information
from Line 3 it it is believed that DRIP was in the Brentwood, Long Island area.

Call #1017 ~ 315-542-0556 — 2:34 pm

BUDDHA asked drip what was “good”. DRIP stated that he would call BUDDHA later.

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Call #1018 — 315-765-1540 — 4:13 pm
This was a non-pertinent call but call data information from this call shows DRIP was in
_ the Yonkers, New York area at the time of this call.

Surveillance

7:49 pm — DRIP was observed exiting the New York State Thruway at exit 30 (the
Herkimer, New York.exit, which 1s just east of Utica). DRIP was driving a gray Jeep, New York
tag EKX 2230, |

Call #1025 ~ 315-542-0556 — 7:50 pm

DRIP asked BUDDHA to “come through real fast”. BUDDHA stated he would be there
in 15 minutes.

Surveillance

8:01 pm — DRIP pulled into driveway at 410 Blandina Street, Utica and parked in front
of the gate of a privacy fence. |

8:07 pm — DRIP opened the gate and drove down the driveway then closed the gate.

8:18 pm — A Passat, New York tag CZF 6502, driven by BUDDHA parked pulled into
the driveway at 512 Blandina Street. |

8:23 pm — DRIP started the Jeep which was behind the privacy fence and opened the gate.
DRIP then backed the Jeep out and closed the gate.

8:24 pm — DRIP drove from 410 Blandina Street to 514 Blandina Street where ‘he parked
the Jeep.

8:25 pm — BUDDHA and unknown black male exit 512 Blandina Street through the west

rear door and walk up the driveway at 514 Blandina Street.

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8:32 pm ~ DRIP, BUDDHA and the unknown black male walk out from the driveway of
514 Blandina Street. DRIP and the unknown black male went into 512 Blandina Street through
the west rear door. BUDDHA entered the Passat.

8:40 pm — The Passat backed out of the driveway at 512 Blandina Street and drove to
BUDDHA’s residence at 5 Arlington Terrace, Utica. BUDDHA exited the Passat and entered his
residence.

Call #1027 — 315-732-0470 — 8:30 pm

DRIP’s mother Kathleen Tyrrell, called from the hardline at 410 Blandina Street and
told DRIP that the kid next door told her there was an undercover cop on the corner watching
everything. DRIP stated that he believed it.

Call #337 — 315-542-0556 — 8:37 pm

BUDDHA called DRIP and told him that the information (about the undercover cop) was
crazy and he was not even on that block. (It is apparent from this call that DRIP called
BUDDHA from another phone and told him about the undercover cop on Blandina Street).

Based on the above calls from September 19 and 20, 2008 and the related surveillance
from September 20, 2008 it is believed that on September 20, 2008 DRIP drove the 2005 J eep
Cherokee to Long Island to pickup cocaine and then returned to Utica. Specifically, it is noted
that based on call intercept data from Line 3 DRIP drove all the way to Long Island and only
remained there for about two hours before driving right back to Utica. When DRIP returned to
Utica he drove to his mother’ s residence at 410 Blandina Street. As was noted previously, 410
Blandina Street is the residence of DRIP’s mother Kathleen Tyrrell where other Line 3 calls

show DRIP stores guns and drugs. Additionally, DRIP’s mother’s call to him waming of an

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undercover cop on Blandina Street right after DRIP left her house provides further corroboration
that DRIP returned to Utica with cocaine. It is also believed that based on the calls and
surveillance from September 20, 2008 that BUDDHA picked up cocaine from DRIP at 512
Blandina Street and then returned to his residence at 5 Arlington Terrace with the cocaine.

I. JERMAINE GARY a/k/a HALF

2002 Chevy Trailblazer, VIN 1GNDT13S8122463839, New York Reg. DVY7671, which
is registered and titled to Jaime Rivera.

JERMAINE GARY a/k/a HALF is a 29 year old convicted New York State drug felon
who is currently on parole. HALF resides at 120 Richardson Avenue, Utica, New York. CS 2
advised that HALF is a BOP member who sells crack cocaine. Consensual recordings made by
‘CS 2 with HALF show that he is the owner of the above Trailblazer.

On October 15, 2008 JERMAINE GARY a/k/a HALF drove MICHAEL AUSTIN a/k/a
SOSA in the above Trailblazer to make a controlled crack cocaine sale to CS 2.

On October 17, 2008 CS 2 made a controlled purchase of crack cocaine from JERMAINE

GARY a/k/a HALF in the above Trailblazer,

CONCLUSION
The foregoing sets forth probable cause supporting the issuance of warrants to seize :
1. 2003 Acura TL, Vehicle Identification Number (VIN) 19UUA56713A078111, New York
Reg. EGU 5940, which is registered to Shalon W. Durham, and titled to Andrea L. Scott.
2. 2005 Mitsubishi Endeavor, VIN 4A44MM21S15E061815, New York Reg. EBL7149,

which is registered to Nadine Allen and titled to Wilber C. Allen.

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3. 2001 Honda Civic, VIN IHGEM220X11.002552, New York Reg. DZW 8369, which is
registered and titled to MICHAEL E. AUSTIN, date of birth: November 17, 1978..

4, 2004 Mercedes Benz S 430, VIN WDBNG83574A388010, New York Reg. DNY1538,
which is registered to MICHAEL E. AUSTIN, date of birth: November 17, 1978 and titled to
Michael P. Lennon.

5. 1999 Audi A6é, VIN WAUBA24B4XN082824, New York Reg. DVY 5669, which is
registered and titled to MICHAEL A. WILLIAMS.

6, Acura TL, New York Reg. EEF3379.

7. 2002 Ford Explorer, VIN 1FMZU73E42UC49744, New York Reg. DYG2045, which is
registered and titled to Kathleen Tyrrell.

8. 2003 Honda Accord, VIN HGCM66543A057468, New York Reg. EBL8051, which is
titled and registered to Marlene A. Thompson.

9. 2005 Jeep Cherokee, VIN 1J4GR48K75C509407, New York Reg. EKX2230, which is
registered and titled to Sheena Stockton.

10. 2002 Chevy Trailblazer, VIN IGNDTI 38122463839, New York Reg. DVY7671, which
is registered and titled to Jaime Rivera. |

The foregoing shows that the above ten vehicles were purchased with illicit drug money
and/or were used to transport drugs and/or money in violation of of Title 21, United States Code
Section 841(a)(1) and 846, Possession with Intent to Distribute Controlled Substances and
Conspiracy and Money Laundering in violation of Title 18 United States Code Section, 1956 as well
as evidence of unexplained wealth and unreported income and money in the commission of these

offenses. I therefore respectfully request that the Court issue seizure warrants for the above nine

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vehicles sO that they may be seized for further proceedings in accordance with law.

A A

Le R. Fitégerald /
FBI Special Agent

Sworn to before me this

OF
7° day of October, 2008

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Hon. David E. Peebles
United States Magistrate Judge

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